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                                                       U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District of New York
EDP/MG/KPO                                             271 Cadman Plaza East
F. #2009R01035                                         Brooklyn, New York 11201



                                                       March 18, 2025

By ECF

The Honorable Joan M. Azrack
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Vicente Carrillo Fuentes
                       Criminal Docket No. 09-522 (JMA)

Dear Judge Azrack:

               The government writes on behalf of the parties to respectfully request an
adjournment of the March 25, 2025, status conference to April 23, 2025 at 10:00 am, and to
exclude time under the Speedy Trial Act. The parties respectfully submit that an adjournment
and the exclusion of time are in the interests of justice, because they will facilitate the production
of discovery and afford the parties time to discus a potential resolution of the case. See 18
U.S.C. § 3161(h)(7)(A).

                                                       Respectfully submitted,

                                                       JOHN J. DURHAM
                                                       United States Attorney

                                               By:               /s/
                                                       Erik D. Paulsen
                                                       Miranda Gonzalez
                                                       Katherine P. Onyshko
                                                       Assistant U.S. Attorneys
                                                       (718) 254-7000

cc:    Clerk of Court (JMA) (by ECF)
       Counsel of Record (by ECF)
